                 Case: 24-1285       Document: 29        Page: 1      Filed: 01/15/2024




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                                                                                                    Joseph R. Re
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                                            January 15, 2024
                                               VIA ECF


The Honorable Jarrett B. Perlow
Circuit Executive and Clerk of Court
United States Court of Appeals for the Federal Circuit
717 Madison Place, N.W.
Washington, DC 20439

Re:    Apple Inc. v. ITC, Appeal No. 24-1285
       Notice of Supplemental Authority

Dear Mr. Perlow:

        Intervenors Masimo Corporation and Cercacor Laboratories (collectively, “Masimo”) write to
advise the Court of supplemental authority regarding Apple’s Emergency Motion to Stay Enforcement of
ITC’s Orders Pending Review (“Emergency Motion”), ECF-8.

        On Friday, January 12, the Exclusion Order Enforcement Branch (EOE) of U.S. Customs and
Border Protection decided that Apple’s redesign falls outside the scope of the remedial orders in the ITC
Investigation underlying Apple’s appeal. In Apple’s request under 19 C.F.R. Part 177 (in a portion it did
not identify as confidential), Apple explained “that its Redesigned Watch Products definitively (i) do not
contain pulse oximetry functionality…” Because Apple has maintained that certain information in the
EOE proceeding is confidential, Masimo does not provide a copy of the decision with this letter.
Currently, no public version of the decision exists.

        All parties have discussed the relevance of this EOE ruling on the Emergency Motion in their
respective briefs. ECF-8 at 2 & n.2, 19-20, 23 (Apple); ECF-23 at 7 (ITC); ECF-26 at 1-2, 19 & n.6
(Masimo). As pointed out in Masimo’s Opposition, Apple’s arguments lead to the conclusion that the
EOE Branch decision finding the redesign outside the scope of the remedial orders would eliminate any
irreparable harm alleged by Apple. Id. at 1-2, 19.

                                                   Respectfully submitted,
                                                   /s/ Joseph R. Re
                                                   Joseph R. Re

                                                   Attorney for Intervenors
                                                   Masimo Corporation and Cercacor Laboratories, Inc.

cc: Counsel of record (via ECF)
